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                          Exhibit C
      to Parties' Local Rule 37-2 Joint Stipulation




                                                                Exhibit C
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  1    TRACY L. WILKISON
       United States Attorney
  2    SCOTT M. GARRINGER
       Assistant United States Attorney
  3    Chief, Criminal Division
       ANDREW BROWN (Cal. Bar No. 172009)
  4    VICTOR A. RODGERS (Cal. Bar No. 101281)
       MAXWELL COLL (Cal. Bar No. 312651)
  5    Assistant United States Attorneys
       Major Frauds/Asset Forfeiture Sections
  6          1100/1400 United States Courthouse
             312 North Spring Street
  7          Los Angeles, California 90012
             Telephone: (213) 894-0102/2569/1785
  8          Facsimile: (213) 894-6269/0142/0141
             E-mail: Andrew.Brown@usdoj.gov
  9                  Victor.Rodgers@usdoj.gov
                     Maxwell.Coll@usdoj.gov
 10
      Attorneys for Defendants
 11   UNITED STATES OF AMERICA, et al.
 12                             UNITED STATES DISTRICT COURT
 13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14                                   WESTERN DIVISION
 15 PAUL SNITKO, JENNIFER SNITKO,               Case No. 21-CV-04405-RGK-MAR
    JOSEPH RUIZ, TYLER GOTHIER,
 16 JENI VERDON-PEARSONS,                       STIPULATED PROTECTIVE
    MICHAEL STORC, AND TRAVIS                   ORDER
 17 MAY,
                                                [Discovery Matter]
 18               Plaintiffs,
 19                       v.
 20 UNITED STATES OF AMERICA,
      TRACY L. WILKISON, in her official
 21 capacity as Acting United States
      Attorney for the Central District of
 22 California, and KIRISTI KOONS
      JOHNSON, in her official capacity as an
 23 Assistant Director of the Federal Bureau
      of Investigation,
 24
                  Defendants.
 25

 26

 27

 28

                                                                     Exhibit C
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  1   1.    A.     PURPOSES AND LIMITATIONS
  2         Discovery in this action is likely to involve production of confidential,
  3   proprietary, or private information for which special protection from public
  4   disclosure and from use for any purpose other than prosecuting this litigation may
  5   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
  6   enter the following Stipulated Protective Order. The parties acknowledge that this
  7   Order does not confer blanket protections on all disclosures or responses to
  8   discovery and that the protection it affords from public disclosure and use extends
  9   only to the limited information or items that are entitled to confidential treatment
 10   under the applicable legal principles. The parties further acknowledge, as set forth
 11   in Paragraph 12.3, below, that this Stipulated Protective Order does not entitle them
 12   to file confidential information under seal; Civil Local Rule 79-5 sets forth the
 13   procedure that must be followed and the standards that will be applied when a party
 14   seeks permission from the court to file material under seal.
 15         B.     GOOD CAUSE STATEMENT
 16         This action is likely to involve confidential information derived from
 17   personnel records, investigatory documents, and other materials subject to privacy
 18   protections for which special protection from public disclosure and from use for
 19   any purpose other than prosecution of this action is warranted. Such confidential
 20   and proprietary materials and information consist of, among other things,
 21   documents and other items in the possession of the United States of America that
 22   are in a government system of records that may contain information within the
 23   scope of the Privacy Act, 5 U.S.C. § 552a; documents and other items containing
 24   personal identifying information, including home addresses, Social Security
 25   numbers, bank account numbers, and dates of birth, as well as other information
 26   implicating the privacy rights of third parties; documents and other items
 27   concerning the internal policies, practices and procedures of the United States of
 28   America or its agencies; documents and other items within the scope of the law
                                                                         Exhibit C
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  1   enforcement privilege and/or the investigatory file privilege; and information
  2   otherwise generally unavailable to the public, or which may be privileged or
  3   otherwise protected from disclosure under state or federal statutes, court rules, case
  4   decisions, or common law.
  5         Accordingly, to expedite the flow of information, to facilitate the prompt
  6   resolution of disputes over confidentiality of discovery materials, to adequately
  7   protect information the parties are entitled to keep confidential, to ensure that the
  8   parties are permitted to reasonably use such material in preparation for and in
  9   conduct of trial, to address their handling at the end of the litigation, and serve the
 10   ends of justice, a protective order for such information is justified in this matter. It
 11   is the intent of the parties that information will not be designated as confidential for
 12   tactical reasons and that nothing be so designated without a good faith belief that it
 13   has been maintained in a confidential, non-public manner, and there is good cause
 14   why it should not be part of the public record of this case.
 15   2.    DEFINITIONS
 16         2.1    Action: Paul Snitko, et al., v. United States of America, et al., Case
 17   No. 2:21-CV-04405-RGK-MAR.
 18         2.2    Challenging Party: a Party or Non-Party that challenges the
 19   designation of information or items under this Order.
 20         2.3    “CONFIDENTIAL” Information or Items: Information (regardless of
 21   the medium or manner in which it is generated, stored, or maintained) or tangible
 22   things that qualify for protection under Federal Rule of Civil Procedure 26(c), and
 23   as specified above in the Good Cause Statement.
 24         2.4    Counsel: Government counsel and Plaintiffs’ Counsel of Record and
 25   their respective support staffs.
 26         2.5    Designating Party: a Party or Non-Party that designates information or
 27   items that it produces in disclosures or in responses to discovery as
 28   “CONFIDENTIAL.”
                                                                            Exhibit C
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  1         2.6    Disclosure or Discovery Material: all items or information, regardless
  2   of the medium or manner in which it is generated, stored, or maintained (including,
  3   among other things, testimony, transcripts, and tangible things), that are produced
  4   or generated in disclosures or responses to discovery in this matter.
  5         2.7    Expert: a person with specialized knowledge or experience in a matter
  6   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  7   an expert witness or as a consultant in this Action.
  8         2.8    Non-Party: any natural person, partnership, corporation, association, or
  9   other legal entity not named as a Party to this action.
 10         2.9    Party: any party to this Action.
 11         2.10 Producing Party: a Party or Non-Party that produces Disclosure or
 12   Discovery Material in this Action.
 13         2.11 Professional Vendors: persons or entities that provide litigation
 14   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 15   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 16   and their employees and subcontractors.
 17         2.12 Protected Material: any Disclosure or Discovery Material that is
 18   designated as “CONFIDENTIAL.”
 19         2.13 Producing Party: a Party that makes a Disclosure or produces
 20   Discovery Material to the Receiving Party.
 21         2.14 Receiving Party: a Party that receives a Disclosure or Discovery
 22   Material from a Producing Party.
 23   3.    SCOPE
 24         The protections conferred by this Stipulation and Order cover not only
 25   Protected Material (as defined above), but also (1) any information copied or
 26   extracted from Protected Material; (2) all copies, excerpts, summaries, or
 27   compilations of Protected Material; and (3) any testimony, conversations, or
 28   presentations by Parties or their Counsel (as defined in paragraph 2.4) that might
                                                                          Exhibit C
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  1   reveal Protected Material.
  2         Any use of Protected Material at trial shall be governed by the orders of the
  3   trial judge. This Order does not govern the use of Protected Material at trial.
  4   4.    DURATION
  5         Even after final disposition of this litigation, the confidentiality obligations
  6   imposed by this Order shall remain in effect until a Designating Party agrees
  7   otherwise in writing or a court order otherwise directs. Final disposition shall be
  8   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
  9   with or without prejudice; and (2) final judgment herein after the completion and
 10   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 11   including the time limits for filing any motions or applications for extension of time
 12   pursuant to applicable law.
 13   5.    DESIGNATING PROTECTED MATERIAL
 14         5.1    Exercise of Restraint and Care in Designating Material for Production.
 15   Each Party or Non-Party that designates information or items for protection under
 16   this Order must take care to limit any such designation to specific material that
 17   qualifies under the appropriate standards. The Designating Party must designate for
 18   protection only those parts of material, documents, items or oral or written
 19   communications that qualify so that other portions of the material, documents,
 20   items or communications for which protection is not warranted are not swept
 21   unjustifiably within the ambit of this Order.
 22         Mass, indiscriminate, or routinized designations are prohibited. Designations
 23   that are shown to be clearly unjustified or that have been made for an improper
 24   purpose (e.g., to unnecessarily encumber the case development process or to
 25   impose unnecessary expenses and burdens on other parties) may expose the
 26   Designating Party to sanctions.
 27

 28

                                                                          Exhibit C
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  1         If it comes to a Designating Party's attention that information or items that it
  2   designated for protection do not qualify for protection, that Designating Party must
  3   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  4         5.2    Manner and Timing of Designations. Except as otherwise provided in
  5   this Order (see, e.g., paragraph 5.2(b) below), or as otherwise stipulated or ordered,
  6   Disclosure or Discovery Material that qualifies for protection under this Order must
  7   be clearly so designated before the material is disclosed or produced.
  8         Designation in conformity with this Order requires:
  9         (a)    for information in documentary form (e.g., paper or electronic
 10   documents, but excluding electronic information produced in native form or in a
 11   format that is not amenable to visible endorsement on the image, and also excluding
 12   transcripts of depositions or other pretrial or trial proceedings), that the Producing
 13   Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
 14   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
 15   portion or portions of the material on a page qualifies for protection, the Producing
 16   Party also must clearly identify the protected portion(s) (e.g., by making
 17   appropriate markings in the margins).
 18         (b)    for electronic information that is provided in native form or a format
 19   that is not amenable to visible endorsement on the image, the file name(s) shall
 20   begin with “CONFIDENTIAL legend.” The media on which the Protected Material
 21   is provided (e.g., CD, DVD, external hard drive) also must be and remain plainly
 22   labeled with “CONFIDENTIAL legend” unless and until the protection of the data
 23   within the media is removed. Any copying or transferring of electronic files that are
 24   designated as Protected Material must be done in a manner that maintains the
 25   protection for all copies, including, but not limited to, maintaining the protection in
 26   the filename(s) and the location where the copies are stored and the location where
 27   the users access the information.
 28

                                                                          Exhibit C
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  1         (c)    a Party or Non-Party that makes original documents available for
  2   inspection need not designate them for protection until after the inspecting Party
  3   has indicated which documents it would like copied and produced. During the
  4   inspection and before the designation, all of the material made available for
  5   inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
  6   identified the documents it wants copied and produced, the Producing Party must
  7   determine which documents, or portions thereof, qualify for protection under this
  8   Order. Then, before producing the specified documents, the Producing Party must
  9   affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
 10   If only a portion of the material on a page qualifies for protection, the Producing
 11   Party also must clearly identify the protected portion(s) (e.g., by making
 12   appropriate markings in the margins). If the original documents made available for
 13   inspection that are designated for copying include materials produced in native file
 14   format, or that are in a format that is not amenable to visible endorsement on the
 15   image, the Producing Party shall comply with the direction in subparagraph (b) of
 16   this Paragraph regarding their production.
 17         (d)    for testimony given in depositions that the Designating Party identify
 18   the Disclosure or Discovery Material on the record, or by letter from counsel within
 19   thirty days of receipt of the official deposition transcript or copy thereof (or written
 20   notification that the transcript is available), listing the specific pages and lines of
 21   the transcript and any exhibits that should be treated as Protected Material. The
 22   entire deposition transcript (including any exhibits not previously produced in
 23   discovery in this Litigation) shall be treated as Protected Material under this Order
 24   until the expiration of the above-referenced 30-day period for designation, except
 25   that the deponent (and his or her counsel, if any) may review the transcript of his or
 26   her own deposition during the 30-day period subject to this Order and the
 27   requirement of executing the certification attached as Exhibit A. After designation
 28   of Protected Material is made, the following shall be placed on the front of the
                                                                            Exhibit C
                                                  6                               82
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  1   original and each copy of a deposition transcript containing Protected Material:
  2   “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER.” If the deposition
  3   was filmed, both the recording storage medium (i.e.. CD or DVD) and its container
  4   shall be labeled “CONFIDENTIAL — SUBJECT TO PROTECIVE ORDER.”
  5         (e)    for information produced in some form other than documentary and
  6   for any other tangible items, that the Producing Party affix in a prominent place on
  7   the exterior of the container or containers in which the information is stored the
  8   legend “CONFIDENTIAL.” If only a portion or portions of the information
  9   warrants protection, the Producing Party, to the extent practicable, shall identify the
 10   protected portion(s).
 11         (f)    for interrogatory answers and responses to requests for admissions,
 12   designation of Protected Material shall be made by placing within each
 13   interrogatory answer or response to requests for admission asserted to contain
 14   Protected Material the following: “CONFIDENTIAL — SUBJECT TO
 15   PROTECTIVE ORDER.”
 16         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
 17   failure to designate qualified information or items does not, standing alone, waive
 18   the Designating Party's right to secure protection under this Order for such material.
 19   Upon timely correction of a designation, the Receiving Party must make reasonable
 20   efforts to assure that the material is treated in accordance with the provisions of this
 21   Order.
 22   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 23         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
 24   designation of confidentiality at any time that is consistent with the Court's
 25   Scheduling Order.
 26         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
 27   resolution process under Local Rule 37-1 et seq.
 28

                                                                          Exhibit C
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  1         6.3    The burden of persuasion in any such challenge proceeding shall be on
  2   the Designating Party. Frivolous challenges, and those made for an improper
  3   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  4   parties) may expose the Challenging Party to sanctions. Unless the Designating
  5   Party has waived or withdrawn the confidentiality designation, all parties shall
  6   continue to afford the material in question the level of protection to which it is
  7   entitled under the Producing Party's designation until the Court rules on the
  8   challenge.
  9   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 10         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 11   disclosed or produced by another Party or by a Non-Party in connection with this
 12   Action only for prosecuting, defending or attempting to settle this Action. Such
 13   Protected Material may be disclosed only to the categories of persons and under the
 14   conditions described in this Order. When the Action has been terminated, a
 15   Receiving Party must comply with the provisions of paragraph 13 below (FINAL
 16   DISPOSITION).
 17         Protected Material must be stored and maintained by a Receiving Party at a
 18   location and in a secure manner that ensures that access is limited to the persons
 19   authorized under this Order.
 20         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
 21   otherwise ordered by the court or permitted in writing by the Designating Party, a
 22   Receiving Party may disclose any information or item designated
 23   “CONFIDENTIAL” only to:
 24                 (a)   the Receiving Party's Counsel in this Action;
 25                 (b)   the employees of the Receiving Party’s Counsel in this Action to
 26    whom disclosure is reasonably necessary for this Action;
 27                 (c)   Experts (as defined in this Order) of the Receiving Party to
 28    whom disclosure is reasonably necessary for this Action and who have signed the
                                                                          Exhibit C
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  1    “Acknowledgment and Agreement to Be Bound,” attached and hereafter referred
  2    to as “Exhibit A.”
  3                (d)    the court and its personnel;
  4                (e)    court reporters and their staff;
  5                (f)    professional jury or trial consultants, mock jurors, and
  6    Professional Vendors to whom disclosure is reasonably necessary for this Action
  7    and who have signed Exhibit A;
  8                (g)    the author or recipient of a document containing the information
  9    or a custodian or other person who otherwise possessed or knew the information;
 10                (h)    during their depositions, witnesses, and attorneys for witnesses,
 11    in the Action to whom disclosure is reasonably necessary provided: (1) the
 12    deposing party requests that the witness sign Exhibit A; and (2) they will not be
 13    permitted to keep any confidential information unless they sign Exhibit A, unless
 14    otherwise agreed by the Designating Party or ordered by the court. Pages of
 15    transcribed deposition testimony or exhibits to depositions that reveal Protected
 16    Material may be separately bound by the court reporter and may not be disclosed
 17    to anyone except as permitted under this Stipulated Protective Order;
 18                (i)    any mediator or settlement officer, and their supporting
 19    personnel, mutually agreed upon by any of the parties engaged in settlement
 20    discussions; and
 21                (j)    a class member to this Action who has signed Exhibit Ato whom
 22    disclosure is reasonably necessary for this Action and who has signed Exhibit A
 23    and for whom the signed Exhibit A has been provided to Counsel for the
 24    Producing Party prior to the disclosure, provided that the disclosure of such
 25    CONFIDENTIAL Information or Items shall be limited to records reflecting the
 26    inventorying of the contents of that specific class member’s safe deposit box at
 27    US Private Vaults, and further provided that any such class member shall not be
 28    prohibited from disclosing to the federal government any CONFIDENTIAL
                                                                         Exhibit C
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  1    Information received from Defendants or from using the information to file claims
  2    with or otherwise exercise the class member’s rights to seek relief from the
  3    federal government.
  4   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED
  5   PRODUCED IN OTHER LITIGATION
  6         If a Party is served with a subpoena or a court order issued in other litigation
  7   that compels disclosure of any information or items designated in this Action as
  8   “CONFIDENTIAL,” that Party must:
  9         (a)    promptly notify in writing the Designating Party. Such notification
 10   shall include a copy of the subpoena or court order;
 11         (b)    promptly notify in writing the party who caused the subpoena or order
 12   to issue in the other litigation that some or all of the material covered by the
 13   subpoena or order is subject to this Protective Order. Such notification shall include
 14   a copy of this Stipulated Protective Order; and
 15         (c)    cooperate with respect to all reasonable procedures sought to be
 16   pursued by the Designating Party whose Protected Material may be affected.
 17   If the Designating Party timely seeks a protective order, the Party served with the
 18   subpoena or court order shall not produce any information designated in this action
 19   as “CONFIDENTIAL” before a determination by the court from which the
 20   subpoena or order issued, unless the Party has obtained the Designating Party's
 21   permission. The Designating Party shall bear the burden and expense of seeking
 22   protection in that court of its confidential material and nothing in these provisions
 23   should be construed as authorizing or encouraging a Receiving Party in this Action
 24   to disobey a lawful directive from another court.
 25   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 26   PRODUCED IN THIS LITIGATION
 27         (a)    The terms of this Order are applicable to information produced by a
 28   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
                                                                           Exhibit C
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  1   produced by Non-Parties in connection with this litigation is protected by the
  2   remedies and relief provided by this Order. Nothing in these provisions should be
  3   construed as prohibiting a Non-Party from seeking additional protections.
  4         (b)    In the event that a Party is required, by a valid discovery request, to
  5   produce a Non-Party's confidential information in its possession, and the Party is
  6   subject to an agreement with the Non-Party not to produce the Non-Party's
  7   confidential information, then the Party shall:
  8                (1)    promptly notify in writing the Requesting Party and the Non-
  9   Party that some or all of the information requested is subject to a confidentiality
 10   agreement with a Non-Party;
 11                (2)    promptly provide the Non-Party with a copy of the Stipulated
 12   Protective Order in this Action, the relevant discovery request(s), and a reasonably
 13   specific description of the information requested; and
 14                (3)    make the information requested available for inspection by the
 15   Non-Party, if requested.
 16         (c)    If the Non-Party fails to seek a protective order from this court within
 17   fourteen (14) days of receiving the notice and accompanying information, the
 18   Receiving Party may produce the Non-Party's confidential information responsive
 19   to the discovery request. If the Non-Party timely seeks a protective order, the
 20   Receiving Party shall not produce any information in its possession or control that
 21   is subject to the confidentiality agreement with the Non-Party before a
 22   determination by the court. Absent a court order to the contrary, the Non-Party shall
 23   bear the burden and expense of seeking protection in this court of its Protected
 24   Material.
 25   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 26         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 27   Protected Material to any person or in any circumstance not authorized under this
 28   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
                                                                          Exhibit C
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  1   writing the Designating Party of the unauthorized disclosures, (b) use its best
  2   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
  3   person or persons to whom unauthorized disclosures were made of all the terms of
  4   this Order, and (d) request such person or persons to execute the “Acknowledgment
  5   and Agreement to be Bound” that is attached hereto as Exhibit A.
  6   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  7   PROTECTED MATERIAL
  8         When a Producing Party gives notice to Receiving Parties that certain
  9   inadvertently produced material is subject to a claim of privilege or other
 10   protection, the obligations of the Receiving Parties are those set forth in Federal
 11   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
 12   whatever procedure may be established in an e-discovery order that provides for
 13   production without prior privilege review. Pursuant to Federal Rule of Evidence
 14   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
 15   of a communication or information covered by the attorney-client privilege or work
 16   product protection, the parties may incorporate their agreement in a subsequent
 17   stipulation to the court.
 18   12.   MISCELLANEOUS
 19         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 20   person to seek its modification by the Court in the future.
 21         12.2 Right to Assert Other Objections. This Protective Order is intended to
 22   provide a mechanism for handling the disclosure or production of Protected
 23   Material to which there is no objection to production pursuant to the terms of this
 24   Order. The protection afforded by this Order shall in no way affect a Producing
 25   Party’s right to withhold or redact documents as: (a) privileged under the attorney-
 26   client or other privilege, (b) protected by the work product doctrine, or (c)
 27   otherwise exempted from discovery under Rule 26 of the Federal Rules of Civil
 28   Procedure or under any law. Additionally, this Protective Order shall not prejudice
                                                                          Exhibit C
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  1   the right of a Party to seek additional protective treatment for any information it
  2   considers to be very highly sensitive, or otherwise exempt from disclosure, such
  3   that the protections in this Protective Order would be insufficient. In addition, no
  4   Party waives any right to object on any ground to use in evidence of any of the
  5   material covered by this Protective Order.
  6         12.3 Filing Protected Material. A Party that seeks to file under seal any
  7   Protected Material must comply with Local Civil Rule 79-5. Protected Material
  8   may only be filed under seal pursuant to a court order authorizing the sealing of the
  9   specific Protected Material at issue. If a Party's request to file Protected Material
 10   under seal is denied by the court, then the Receiving Party may file the information
 11   in the public record unless otherwise instructed by the court.
 12   13.   FINAL DISPOSITION
 13         After the final disposition of this Action, as defined in paragraph 4, within 60
 14   days of a written request by the Designating Party, each Receiving Party must
 15   return all Protected Material to the Producing Party or destroy such material. As
 16   used in this subdivision, “all Protected Material” includes all copies, abstracts,
 17   compilations, summaries, and any other format reproducing or capturing any of the
 18   Protected Material. Whether the Protected Material is returned or destroyed, the
 19   Receiving Party must submit a written certification to the Producing Party (and, if
 20   not the same person or entity, to the Designating Party) by the 60 day deadline that
 21   (1) identifies (by category, where appropriate) all the Protected Material that was
 22   returned or destroyed and (2) affirms that the Receiving Party has not retained any
 23   copies, abstracts, compilations, summaries or any other format reproducing or
 24   capturing any of the Protected Material. Notwithstanding this provision, Counsel
 25   are entitled to retain an archival copy of all pleadings, motion papers, trial,
 26   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
 27   and trial exhibits, expert reports, attorney work product, and consultant and expert
 28   work product, even if such materials contain Protected Material. Any such archival
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  1   copies that contain or constitute Protected Material remain subject to this Protective
  2   Order as set forth in paragraph 4 (DURATION).
  3   14.   VIOLATION
  4         Any violation of this Order may be punished by any and all appropriate
  5   measures including, without limitation, contempt proceedings and/or monetary
  6   sanctions.
  7

  8

  9

 10
       Dated: _______________________             ____________________________
                                                  THE INSTITUTE FOR JUSTICE
 11                                               Robert Frommer*
 12                                               rfrommer@ji.org
                                                  901 N. Glebe Rd., Suite 900
 13                                               Arlington, VA 22203
 14                                               Tel. (703) 682-9320

 15                                               Robert E. Johnson
 16                                               rjohnson@ij.org
                                                  16781 Chagrin Blvd., Suite 256
 17                                               Shaker Heights, OH 44120
 18                                               Tel. (703) 682-9320

 19                                               *Admitted pro hac vice.
 20
                                                  THE VORA LAW FIRM, P.C.
 21                                               Nilay U. Vora (SBN 268339)
 22                                               nvora@voralaw.com
                                                  Jeffrey Atteberry (SBN 266728)
 23                                               jatteberry@vora.aw.com
 24                                               201 Santa Monica Blvd., Suite 300
                                                  Santa Monica, CA 90401
 25                                               Tel. (424) 258-5190
 26
                                                  Attorneys for Plaintiffs
 27

 28    Dated: ________________________            TRACY L. WILKISON

                                                                         Exhibit C
                                                14                             90
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                                 #:1235


  1                                         United States Attorney
  2                                         SCOTT M. GARRINGER
                                            Assistant United States Attorney
  3                                         Chief, Criminal Division
  4
                                            ______________________________
  5                                         ANDREW BROWN
  6                                         VICTOR A. RODGERS
                                            MAXWELL COLL
  7                                         Assistant United States Attorneys
  8
                                            Attorneys for Defendants
  9                                         UNITED STATES OF AMERICA, et al.
 10

 11   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 12
       Dated: ____________________     ____________________________________
 13                                    THE HONORABLE MARGO A. ROCCONI
 14                                    UNITED STATES MAGISTRATE JUDGE
 15

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                                                                 Exhibit C
                                          15                           91
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  1                                        EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3   I,                              [full name], with the address
  4                                                   _ [full address and telephone number],
  5   declare under penalty of perjury that I have read in its entirety and understand the
  6   Stipulated Protective Order that was issued by the United States District Court for
  7   the Central District of California on [date] in the case of Paul Snitko, et al., v.
  8   United States of America, et al., Case No. 2:21-CV-04405-RGK-MAR. I agree to
  9   comply with and to be bound by all the terms of this Stipulated Protective Order
 10   and I understand and acknowledge that failure to so comply could expose me to
 11   sanctions and punishment in the nature of contempt. I solemnly promise that I will
 12   not disclose in any manner any information or item that is subject to this Stipulated
 13   Protective Order to any person or entity except in strict compliance with the
 14   provisions of this Order.
 15         I further agree to submit to the jurisdiction of the United States District
 16   Court for the Central District of California for the purpose of enforcing the terms
 17   of this Stipulated Protective Order, even if such enforcement proceedings occur
 18   after termination of this action.
 19   I hereby appoint                                         [full name] with the
 20   address                                             [full address and telephone
 21   number] as my California agent for service of process in connection with this
 22   action or any proceedings related to enforcement of this Stipulated Protective
 23   Order.
 24   Date: ___________________________
 25   City and State where sworn and signed:                                            _
 26

 27   Printed name: _________________________
 28   Signature: ____________________________
                                                                           Exhibit C
                                                 16
                                                                                 92
